 

ease 1 :07-cv-06517 DocuMIH$SHOJF'iMIOMB/zo 1515§§§3| QMVHH
'S,'].I_\;.LS HHO.»\ SHHlH:JS§Cl .LVH.]. .'\\O"l§lg XOH BH.]. H:):~I_HD ‘:~ISV;) FIVNI['\"IH:) \" Sl SIH_L _~I]

 

E|O.-\" |:|SELK £._kH.\iHOlLV` `IVIH_I_ ElH_I_ S‘v" _LD\‘-` _”lOA _I`II.-\\ a`I‘r'lk{_l_ SELHJ\“-'E{H HSV§) SIH_L :I|

 

 

 

 

|:|0§-531\ gave WIHL s‘lmc)g 31le 30 3331-rm v _10.\ guy
E|ON :| Szm 321ng SIHL xi nsmo:) wood Sv Dxu;)w' _10.\ nw
ON l:]s;l,\ I;EISV:) sun m ns_\¢no:) av;n s\" 01\'113\; _10_\ nw

1359-as (zI§) 66€§319

HEIHD\L="L\’ ':INOHdElT:IL (S£\‘OIJ_'.`)HHJ.S.`\`] .‘\`l § l'\":{ll :-IHS} };IE[‘E]\\`.'\_\' (]|

 

 

50909 `ll ‘9`593![{:)
dlz glus ‘-\11:)

 

OOLI 31?“8 "lS }IJBI:) -`\T 05
SS';IHC|(]V J.ZI';IHJ.S

 

9100_1|0 ry q:)S.I!H ‘ulneg wmang 'urzluq;e}[
[\UI;{

 

qoslyH '”[ .-(:)utz._\; _. 5
(.{Hp.:aguon::a{a pa;g sg umo_l enumeadde aq\_;_l ammu€gs amoqu as_']} -:IH"]`L\-'X[)}S

 

 

L{:\SJ;H '_[ _-\';‘,~LlEN
[Iu}Jd 10 acl-\`_L`] 3]-\'\~'5;

 

_.{9>{5112}{ 1253qu _L

utzuue)[ aaualal

fHO;I AE{:\RIOLLV SV (IE[NDISHH(]NH EIHL A_‘E§[ CIEI'II:l AE[E[HEIH SI EIDNVH\"-":Id¢{¥’ §\='V
10d;)(] awol-1 ;\ql e.q'p

‘uo;lejod.lo:) ug;eloal 12 ";)11] "\-."'g'{l 113qu QLuOH

`.\

‘SJMH!EM

‘.-{Q>ISJBH BSQ.IQL[l pue manner QQLIQJQJ_

L[§9 3 110 ila€lul“z\l 3593 50 1311121,\' 91[1 uI

 

`VI`€S q§“@llll EI"£S 53[“H IEJO`[ iq
105 pap!.»\olc[ se 3.3_1¢\ amf md lesclde 01 Q.-xr<:;)[ psluel€ eq 10 leq leJQuQB sauno;; s_rq1 _10 Bu;purzzs
puc)B lr§ lequlaul la eq large lsnul ,(911101412 ue uno:) s_rq1 elojeq Jeadde 01 JQpJO 111 :;[l@;\r

IAIHO:I HDNV}IVEI¢I¢IV AEL\'HOLI.V
SIO-.\ZITU .LIO lDIHl.SI(I NHEI'H.I.HON E[Hl HO;I lHi]OJ lJIHlSI([ 'S`.]

 

